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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


DUSTY RAY SPENCER,

                  Plaintiff,

v.                                                 Case No. 3:17-cv-73-J-39PDB

FLORIDA DEPARTMENT OF
CORRECTIONS et al.,

                 Defendants.
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                                    ORDER

      Plaintiff initiated this case pro se by filing a Civil Rights Complaint (Doc.

1). The Court appointed counsel for Plaintiff (Doc. 12), who filed a Second

Amended Complaint (Doc. 53; SAC) on Plaintiff’s behalf. In the operative

pleading, Plaintiff asserts Defendants were deliberately indifferent to his

serious medical conditions: chronic HCV and stage four cirrhosis. See SAC at

10. Plaintiff seeks damages, fees and costs, and injunctive relief. Id. at 16.

      On June 26, 2018, the Court stayed and administratively closed this case

pending the resolution of Hoffer v. Jones, Case No. 4:17-CV-00214-MW-CAS

(Doc. 70; Stay Order). Hoffer is a class action lawsuit against the Secretary of

the Florida Department of Corrections seeking treatment for state prisoners

diagnosed with Hepatitis C. Plaintiff is a class member. In the order staying
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the case, the Court directed the parties to “promptly notify the Court of the

final resolution” of Hoffer. See Stay Order at 9 (emphasis added).

      On October 30, 2020, the Court granted Plaintiff’s attorney’s motion to

withdraw (Doc. 88). Accordingly, Plaintiff is again proceeding pro se. Plaintiff

now moves the Court to lift the stay and reopen this case (Doc. 92) and to

appoint counsel to represent him (Doc. 93). Defendants oppose the relief

Plaintiff seeks (Docs. 95, 96).

      Upon review of the docket in the Hoffer case, the Court finds it is still

pending. See Case No. 4:17-CV-00214-MW-CAS. Given the Hoffer case is not

finally resolved, the Court finds Plaintiff’s request to reopen this case is

premature.

      However, once this case is in a posture to be reopened, Plaintiff will need

the assistance of a trained practitioner. Thus, the Court will refer the case to

the Jacksonville Division Civil Pro Bono Appointment Program so the

designated deputy clerk of the Court may seek counsel to represent Plaintiff.

Because it may take some time to find an attorney willing to accept this case

pro bono, the Court will refer the case for appointment of counsel now.

      Accordingly, it is now

      ORDERED:

      1.     Plaintiff’s motion to reopen the case and lift the stay (Doc. 92) is

DENIED.

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      2.    Plaintiff’s motion for appointment of counsel (Doc. 93) is

GRANTED.

      3.    The Court REFERS the case to the Jacksonville Division Civil Pro

Bono Appointment Program so the designated deputy clerk of the Court may

seek counsel to represent Plaintiff.

      DONE AND ORDERED at Jacksonville, Florida, this 22nd day of

December 2020.




Jax-6
c:
Dusty Ray Spencer
Counsel of Record




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